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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                      8:18CR42

       vs.
                                                                        ORDER
JOSE ARNOLDO RAMIREZ, JR.,

                       Defendant.

       This matter is before the court on defendant's Motion to Enlarge Time to File Pretrial
Motions [54]. For good cause shown, I find that the motion should be granted. The defendant
will be given an approximate 29-day extension. Pretrial motions shall be filed by April 20, 2018.
       IT IS ORDERED:
       1.      Defendant's Motion to Enlarge Time to File Pretrial Motions [54] is granted.
Pretrial motions shall be filed on or before April 20, 2018.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between March 22, 2018 and April 20, 2018, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial
Act for the reason defendant's counsel requires additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       Dated this 22nd day of March, 2018.

                                                      BY THE COURT:


                                                      s/ Susan M. Bazis
                                                      United States Magistrate Judge
